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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                                Judge Nina Y. Wang

Civil Action No. 21-cv-02214-NYW-KLM

BRIAN LOMA,

       Plaintiff,

v.

CITY AND COUNTY OF DENVER, a municipality,
CITY ATTORNEY KRISTIN M. BRONSON, in her individual capacity,
ASSISTANT CITY ATTORNEY MELISSA M. DRAZEN SMITH, in her individual capacity,
ASSISTANT DIRECTOR MARLEY BORDOVSKY, in her individual capacity,
CORPORAL ROBERT D. SMITH, in his individual capacity,
ALLIED UNIVERSAL SECURITY SERVICES,
FALIESHA LYNETT TRIMBLE, in their individual capacity,
ANGELIKA CHAPLINSKY, in their individual capacity,
DETECTIVE NICHOLAS Z. ROCCO-MCKEEL, in his individual capacity,
SERGEANT JASON BURTON, in his individual capacity, and
SERGEANT JEFFREY BERGER, in his individual capacity,

       Defendants.

                        MEMORANDUM OPINION AND ORDER


       Pending before the Court is the “Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1)

and 12(b)(6)” (the “Motion”) filed by Defendants City and County of Denver (“Denver”), Kristin

M. Bronson (“Defendant Bronson” or “Ms. Bronson”), Melissa M. Drazen Smith (“Defendant

Drazen Smith” or “Ms. Drazen Smith”), Marley Bordovsky (“Defendant Bordovsky” or “Ms.

Bordovsky”), Robert D. Smith (“Defendant Smith” or “Corporal Smith”), Nicholas Z. Rocco-

McKeel (“Defendant Rocco-McKeel” or “Detective Rocco-McKeel”), Sergeant Jason Burton

(“Defendant Burton” or “Sergeant Burton”), and Sergeant Jeffrey Berger (“Defendant Berger” or
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“Sergeant Berger,” and, collectively, “City Defendants”). 1 [Doc. 28, filed December 13, 2021].

Plaintiff Brian Loma (“Plaintiff” or “Mr. Loma”) timely filed a response brief (the “Response”)

opposing the Motion, [Doc. 38, filed January 18, 2022], and City Defendants followed with a reply

brief (the “Reply”), [Doc. 55, filed February 16, 2022]. The issues have been fully briefed, and

the Court does not believe that oral argument would materially aid in the resolution of this matter.

For the reasons set forth below, the Court GRANTS IN PART and DENIES IN PART the

Motion.

                                         BAGKGROUND

       The following facts are drawn from the Amended Complaint, [Doc. 6], and are taken as

true for the purposes of resolving the instant Motion. Brokers’ Choice of Am., Inc. v. NBC

Universal, Inc., 757 F.3d 1125, 1136 (10th Cir. 2014). Plaintiff Brian Loma is an individual who

operates a YouTube channel that he uses to livestream community events and interactions between

members of the public and police in the City and County of Denver. [Doc. 6 at ¶¶ 1, 4]. Plaintiff

alleges that, because of his ability to expose government misconduct through the use of video

platforms, he “has become a continual target for the City and County of Denver and the Denver

Police in an effort to silence his advocacy.” [Id. at ¶ 6].

I.     February 2019 Interaction with Police and Assault Charge

       On February 15, 2019, Mr. Loma observed security guards harassing an unhoused

individual sleeping on a bench outside of the Tabor Center Building located on the 16th Street

Mall in downtown Denver. [Id. at ¶ 23]. He specifically recalls them poking and prodding the




1
 The Court cites to the docket number and the page numbers assigned by the District of Colorado’s
Electronic Court Filing (“ECF”) system for all documents. The Court also employs the corrected
spelling of two Defendants’ names: Sergeant Jason Burton and Sergeant Jeffrey Berger. [Doc.
59].
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unhoused individual, and he began to film and livestream the guards’ actions. [Id. at ¶¶ 24–25].

As he was filming, a member of the team—Defendant Faliesha Lynett Trimble (“Defendant

Trimble” or “Ms. Trimble”), an employee of Allied Universal Security Services (“Allied

Universal”)—approached him and informed him that “he could not film them.” [Id. at ¶ 26].

Plaintiff continued to film the interaction, and Ms. Trimble began to push him backwards and

block his camera’s view. [Id. at ¶¶ 27–28].

       Ms. Trimble subsequently called the police. [Id. at ¶ 29]. Upon Corporal Robert D.

Smith’s arrival, Ms. Trimble told him that Mr. Loma had “spit in her face twice.” [Id.]. Corporal

Smith proceeded to interview witnesses at the scene. [Id. at ¶ 30]. One witness—Angelika

Chaplinskiy (“Defendant Chaplinskiy” or “Ms. Chaplinskiy”), another employee of Allied

Universal—confirmed Ms. Trimble’s story. [Id.]. A second witness, Bonnie Kutaukas (“Ms.

Kutaukas”), informed Corporal Smith that Mr. Loma had not spit in Ms. Trimble’s face and that

Ms. Trimble had physically assaulted him. [Id. at ¶ 31]. She showed Corporal Smith a recording

of the previous events, which did not show Plaintiff spitting in Ms. Trimble’s face, and confirmed

that Ms. Trimble never mentioned having been spat on until he had arrived at the scene. [Id. at ¶

32]. Corporal Smith informed Ms. Kutaukas that he did not see any interaction between Mr. Loma

or Ms. Trimble on the video, and asked if the recording had started at the beginning of their

interaction; she confirmed that it had. [Id. at ¶ 33].

       In his report, Corporal Smith did not state that Ms. Trimble had physically assaulted

Plaintiff, that Ms. Trimble had followed Plaintiff, or that he had reviewed a video of the incident.

[Id. at ¶¶ 34–36]. Instead, Mr. Loma alleges that Corporal Smith falsely reported that the video

had not started at the beginning of the incident. [Id. at ¶ 37]. The interaction ended when Corporal




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Smith issued Plaintiff “a summons to appear in Denver Municipal Court for a charge of Assault

for spitting on Ms. Trimble.” [Id. at ¶ 39].

          Approximately three weeks later, Ms. Drazen Smith emailed the property owner and

members of the “Denver Initiative” 2 naming Plaintiff and stating that he was “stepping on the line

of free speech.” [Id. at ¶ 41]. Mr. Loma claims she promised to place “Area Restrictions” on him,

despite not being able to secure a conviction against him, “so that he could not continue his

constitutionally protected right to protest near the 16th Street Mall the next time they got a

conviction.” [Id.]. Before he was convicted of the aforementioned assault charge, Plaintiff “was

given an Area Restriction, keeping him away from the 16th Street Mall area.” [Id. at ¶ 43]. At the

time the restriction was issued, Mr. Loma “was employed as a Field Director of a campaign that

was in direct opposition to the current Mayor.” [Id. ¶ 44]. He claims the restriction prevented him

from working on the campaign in a heavily-populated area of downtown Denver. [Id.]. On August

18, 2019, Mr. Loma’s assault charge was allegedly dismissed. [Id. at ¶ 45].

II.       October 2020 Arrest and Search Warrant

          Over a year later—on October 14, 2020—Mr. Loma was arrested pursuant to an arrest

warrant “for Obstruction of Passage . . . for an incident that occurred on September 28, 2020.” [Id.

at ¶ 47]. Upon his arrest, Mr. Loma was asked by the arresting officers if he would speak with

them regarding a set of crimes that had been committed during the summer of 2020 in downtown

Denver. [Id. at ¶ 49]. At the time, the officers were on the phone with Sergeant Burton. [Id.].

Mr. Loma said that he would speak with the officers if his attorney were present. [Id. at ¶ 50].

Sergeant Burton replied over the phone that, rather than allow him to speak with an attorney, “we

will just take his phone.” [Id. at ¶ 52].



2
    Plaintiff does not clarify what the “Denver Initiative” is.
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       After spending the night in jail and being released on bond, Mr. Loma’s phone was not

returned to him. [Id. at ¶¶ 53–54]. On October 26, 2020, Detective Nicholas Rocco-McKeel

(“Detective Rocco-McKeel”) “filed” an affidavit in support of a search warrant regarding Mr.

Loma’s phone. [Id. at ¶¶ 55–56]. The Search Warrant Affidavit sought “a general, exploratory

examination into almost everything held on [Plaintiff’s] phone without any particularity to a

specific incident and/or specific time, location, victim, or another person who may have committed

any crime.” [Id. at ¶ 56]. Mr. Loma claims that the Affidavit permitted the collection of, inter

alia, identifying information, ownership, usage files, communications, notes, photos, and metadata

from between May 28, 2020 to October 14, 2020. [Id. at ¶ 57]. Nevertheless, the Affidavit did

specify “certain offenses committed by members of the community during the ongoing protests

throughout the summer.” [Id. at ¶ 58]. Mr. Loma notes that it does not clarify how he might have

been involved with any crimes or suspects, and that he has been prosecuted numerous times but

has had several of his cases dismissed. [Id. at ¶¶ 59–60].

       Moving forward to the spring of 2021, Plaintiff was acquitted at a jury trial regarding his

arrest for obstruction. [Id. at ¶ 65]. On June 24, 2021, Mr. Loma avers that Judge Chelsea Malone

of the Denver Municipal Court ordered the release of all property seized in relation to his

obstruction arrest—including his phone. [Id. at ¶ 66]. On July 21, 2021, Mr. Loma attempted to

retrieve his property from the Denver Police Department; however, he was informed that they did

not have possession of his phone “because it was transferred to another jurisdiction.” [Id. at ¶¶ 67–

68]. Detective Rocco-McKeel confirmed that the phone had been transferred “to another case” in

an email dated the same day. [Id. at ¶ 68]. Mr. Loma remains unaware of the whereabouts of his

phone. [Id. at ¶ 69].




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III.   November 2020 Interaction with Police and Damage to Phone

       On November 17, 2020, 3 Plaintiff traveled to an area outside of St. Joseph’s Hospital to

film the “traumatic displacement of an encampment where BIPOC 4 persons were residing,” as he

had heard word of a planned peaceful sit-in. [Id. at ¶¶ 70–71]. When he arrived, he observed a

work crew erecting a fence around the encampment and approximately twelve police officers. [Id.

at ¶ 72]. He began filming the area, and was “holding in his hand a stabilizing device known as a

gimbal with his cellphone attached and held out away from his body.” 5 [Id. at ¶ 73].

       At this point, Sergeant Berger approached him, refused to identify himself, and struck the

camera and gimbal from his hand when Mr. Loma attempted to film his badge. [Id. at ¶¶ 76–77].

His phone shattered, and he was unable to film the remainder of the displacement. [Id. at ¶ 79].

Following the loss of his phone and his ability to live stream events, Mr. Loma alleges that he

suffered a loss of income and property. [Id. at ¶ 80].

                               PROCEDURAL BACKGROUND

       Mr. Loma initiated this action on August 13, 2021 against the City and Defendants

Bronson, Drazen Smith, Smith, Allied Universal, Trimble and Chaplinskiy asserting three claims

for relief: (1) malicious prosecution against Defendants Smith, Allied Universal, Trimble, and

Chaplinskiy; (2) violation of First Amendment rights against Defendants the City, Bronson, and

Drazen Smith based on an official policy; and (3) violation of First Amendment rights against



3
  The Amended Complaint avers that these events occurred in November 2021; but Plaintiff
clarifies in his Response to the Motion to Dismiss that they occurred in November 2020. See [Doc.
38 at 17].
4
  The term BIPOC is an acronym that refers to Black, Indigenous and People of Color. See
Ernestine Chaco, Mentorship, Leadership, and Being an Indigenous Woman, 69 J. Legal Educ.
630, 636 (2020).
5
  The Court notes that it is unclear whether or not this is the same phone that was seized, or whether
it is a new phone.
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Defendant the City, Bronson, and Drazen Smith based on a custom. [Doc. 1]. Then, on October

7, 2021, prior to service of the original Complaint, Mr. Loma filed his operative Amended

Complaint. [Doc. 6]. In the Amended Complaint, Plaintiff named additional defendants, who are

all sued in their individual capacities, and asserts the following claims for relief:

       1.      Count One, raised against Corporal Robert D. Smith, Allied Universal Security
               Services, Faliesha Lynett Trimble, and Angelika Chaplinskiy, for malicious
               prosecution under § 1983. [Id. at ¶¶ 87–100].

       2.      Count Two, raised against the City of Denver, City Attorney Kristin M. Bronson,
               Deputy City Attorney Melissa M. Drazen Smith, and Assistant Director Marley
               Bordovsky, for an official policy violating the First Amendment to the United
               States Constitution under § 1983. [Id. at ¶¶ 101–127].

       3.      Count Three, raised against the City of Denver, City Attorney Kristin M. Bronson,
               Deputy City Attorney Melissa M. Drazen Smith, and Assistant Director Marley
               Bordovsky, for a custom of violating the First Amendment to the United States
               Constitution under § 1983. [Id. at ¶¶ 128–145].

       4.      Count Four, raised against the City of Denver, City Attorney Kristin M. Bronson,
               Deputy City Attorney Melissa M. Drazen Smith, Assistant Director Marley
               Bordovsky, Corporal Smith, Detective Rocco-McKeel, Sergeant Burton, and
               Officer Burger, for a custom amounting to First Amendment retaliation. [Id. at ¶¶
               146–162].

       5.      Count Five, raised against Detective Nicholas Z. Rocco-McKeel, for a violation of
               the Fourth Amendment to the United States Constitution under § 1983. [Id. at ¶¶
               163–175].

       6.      Count Six, raised against Sergeant Berger, for a violation of the Fourteenth
               Amendment to the United States Constitution for the allegedly unconstitutional
               deprivation of his property under § 1983. [Id. at ¶¶ 176–182].

       7.      Count Seven, raised against Sergeant Berger, for a violation of the Fourth (or
               Fourteenth) Amendment to the United States Constitution for the use of excessive
               force under § 1983. [Id. at ¶¶ 183–191].

       8.      Count Eight, raised against Detective Rocco-McKeel, for a violation of the Fourth
               Amendment to the United States Constitution that resulted in an allegedly
               unconstitutional seizure of property under “SB-217.” [Id. at ¶¶ 192–205].




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       9.      Count Nine, raised against Sergeant Berger, for a violation of the Fourteenth
               Amendment to the United States Constitution that resulted in an unconstitutional
               deprivation of property under “SB-217.” [Id. at ¶¶ 206–212].

       10.     Count Ten, raised against Sergeant Berger, for a violation of the Fourteenth
               Amendment to the United States Constitution that resulted in the use of excessive
               force under “SB-217.” [Id. at ¶¶ 213–221].

       11.     Count Eleven, raised against Sergeant Berger, for a violation of the First
               Amendment to the United States Constitution under “SB-217.” [Id. at ¶¶ 222–234].

       12.     Count Twelve, raised against Sergeant Berger for assault under state law. [Id. at
               ¶¶ 235–238].

       13.     Count Thirteen, raised against Sergeant Berger for battery under state law. [Id. at
               ¶¶ 239–243].

       On November 24, 2021, Allied Universal, as well as Defendants Trimble and Chaplinskiy,

filed an answer to the Amended Complaint and are not part of this instant Motion. [Doc. 25].

                                      LEGAL STANDARD

I.     Rule 12(b)(1)

       Federal courts are courts of limited jurisdiction and, as such, “are duty bound to examine

facts and law in every lawsuit before them to ensure that they possess subject matter jurisdiction.”

Wilderness Soc. v. Kane Cty., 632 F.3d 1162, 1179 n.3 (10th Cir. 2011) (Gorsuch, J., concurring);

see also Cellport Sys., Inc. v. Peiker Acustic GMBH & Co. KG, 762 F.3d 1016, 1029 (10th Cir.

2014) (explaining courts have an independent obligation to ensure subject matter jurisdiction

exists). Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, a party may bring either

a facial or factual attack on subject matter jurisdiction, and a court must dismiss a complaint if it

lacks subject matter jurisdiction. See Pueblo of Jemez v. United States, 790 F.3d 1143, 1147 n.4

(10th Cir. 2015). The burden of establishing jurisdiction rests with the party asserting jurisdiction.

See Kline v. Biles, 861 F.3d 1177, 1180 (10th Cir. 2017).




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II.    Rule 12(b)(6)

       Under Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a motion under Rule 12(b)(6),

the Court must “accept as true all well-pleaded factual allegations . . . and view these allegations

in the light most favorable to the plaintiff.” Casanova v. Ulibarri, 595 F.3d 1120, 1124 (10th Cir.

2010) (quoting Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009)). Nevertheless, a

plaintiff may not rely on mere labels or conclusions, “and a formulaic recitation of the elements of

a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rather,

“a complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Robbins v.

Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (explaining that plausibility refers “to the scope

of the allegations in a complaint,” and that the allegations must be sufficient to nudge a plaintiff’s

claim(s) “across the line from conceivable to plausible”). The ultimate duty of the Court is to

“determine whether the complaint sufficiently alleges facts supporting all the elements necessary

to establish an entitlement to relief under the legal theory proposed.” Forest Guardians v.

Forsgren, 478 F.3d 1149, 1160 (10th Cir. 2007).

III.   Conversion of a Rule 12 Motion to a Motion for Summary Judgment

       In his Response, Mr. Loma argues that—because City Defendants have submitted three

exhibits along with their Motion to Dismiss—that the Court must either convert the pending

Motion into a motion for summary judgment or ignore those materials. [Doc. 38 at 4–5]. The

exhibits that Mr. Loma references consist of (1) the email from Ms. Drazen Smith that Plaintiff

claims is evidence that the state is seeking to suppress his free speech rights, [Doc. 28-1], (2) the

search warrant and affidavit in support of the search warrant that Plaintiff claims have also been



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used to violate his constitutional rights, [Doc. 28-2], and (3) a declaration by Brett Malkowich

(“Mr. Malkowich”), a Claims Adjuster employed by the City and County of Denver who avers

that Mr. Loma did not file a notice of claim in reference to his alleged assault, [Doc. 28-3].

        Rule 12(d) provides for conversion of a motion for failure to state a claim upon which relief

into a motion for summary judgment whenever matters outside the pleading are presented to and

accepted by the court. Fed. R. Civ. P. 12(d); U.S. ex rel. Hafter D.O. v. Spectrum Emergency

Care, Inc., 190 F.3d 1156, 1159 (10th Cir. 1999); Charles Alan Wright et al., 5C Fed. Prac. &

Proc. Civ. § 1366 (3d ed.). Of course, courts have broad discretion in deciding whether to consider

materials outside the pleadings and may convert a Rule 12 motion into a motion for summary

judgment where such conversion is justified. Lowe v. Town of Fairland, 143 F.3d 1378, 1381

(10th Cir. 1998). However—and short of conversion—“if a plaintiff does not incorporate by

reference or attach a document to its complaint, but the document is referred to in the complaint

and is central to the plaintiff’s claim, a defendant may submit an indisputably authentic copy to

the court to be considered on a motion to dismiss.” GFF Corp. v. Assoc. Wholesale Grocers, Inc.,

130 F.3d 1381, 1384 (10th Cir. 1997). “If the rule were otherwise, a plaintiff with a deficient claim

could survive a motion to dismiss simply by not attaching a dispositive document upon which the

plaintiff relied.” Id. at 1385.

                                            ANALYSIS

I.      Framework and Record Before the Court

        The Court is mindful of its constraints at the motion to dismiss stage and considers each

document appended to the City Defendants’ Motion in turn. First, the Court finds that the email

from Ms. Drazen Smith (the “Drazen Smith Email”) is clearly referred to—and central to—every

claim raised against Ms. Drazen Smith, as well as many raised against Denver. See [Doc. 28-1].



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Plaintiff believes that the Drazen Smith Email evidences an official policy of violating his rights

guaranteed by the First Amendment to the United States Constitution, [Doc. 6 at ¶¶ 107, 109–14,

116–17]. He squarely alleges that “[t]he email from ACA Drazen Smith acknowledges that Mr.

Loma, and others, are excursing [sic] their right to Free Speech and that the City Attorney’s Office

has had difficulty securing convictions against Mr. Loma, and other individuals the business do

not like speaking freely in public at the 16th Street Mall,” [id. at ¶ 109], and that “[i]t is clear,

based on ACA Drazen Smith’s email to business partners and the continued targeting of Mr. Loma

for arrest in order to secure Area Restrictions against him, the City and County of Denver has a

policy to violate and chill Mr. Loma’s Free Speech Rights,” [id. at ¶ 117]. And while the email is

most extensively discussed in Mr. Loma’s Second Claim for Relief, Ms. Drazen Smith is still

named as a defendant in Counts Three and Four. [Id. at 17, 20]. The contents of the Drazen Smith

Email—and whether it can form the basis of a plausible claim for relief—are central to those claims

raised against Ms. Drazen Smith. As such, the Court considers the Drazen Smith Email without

converting the instant Motion into one for summary judgment.

       The same holds true for the Affidavit. Mr. Loma gestures at its alleged overbreadth in

recounting the factual predicates of his lawsuit, see [id. at ¶¶ 55–58], and it serves as the basis of

his claim against Detective Rocco-McKeel for the violation of his rights against the

unconstitutional seizure of property, [id. at ¶ 171 (“The Search Warrant Affidavit seeks a general,

exploratory examination into almost everything held on Mr. Loma’s phone without any

particularity to a specific incident and/or specific time, location, victim, or another person who




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may have committed any crime.”), ¶ 203 (same)]. Given the assertion that the Affidavit is

unconstitutionally overbroad, it follows that the Affidavit is central to the claims. 6

       Finally, City Defendants have attached a declaration by Mr. Malkowich, a Claims Adjuster

employed by the City and County of Denver who states that Plaintiff did not file a notice of claim

related to “an incident that took place on November 17, 2020 involving Denver Police Department

Sergeant Jeffrey Berger.” [Doc. 28-3]. The City Defendants seek to demonstrate that Mr. Loma

did not provide notice of his assault and battery claims against Sergeant Berger, as required by

Colorado law. [Doc. 28 at 33]. When faced with a challenge upon which subject matter

jurisdiction is based, “a district court may not presume the truthfulness of the complaint’s factual

allegations.” Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995). It follows that a “court

has wide discretion to allow affidavits, other documents, and a limited evidentiary hearing to

resolve disputed jurisdictional facts under Rule 12(b)(1).” Id. “In such instances, a court’s

reference to evidence outside the pleadings does not convert the motion to a Rule 56 motion” for

summary judgment. Id. It follows that, as here—where a declaration is offered to challenge this


6
  It is unclear whether or to what extent Plaintiff takes issue with the Court reviewing the warrant
in conjunction with the instant Motion to Dismiss. Mr. Loma argues:
       Here, while the email from Ms. Drazen Smith is central to the pleading, the City
       Defendant[s] also attached the entire warrant for Mr. Loma’s phone from a criminal
       case. While the warrant was part of a claim against Detective Rocco-McKeel, it
       not central to the retaliation claim that is the underl[lying] basis for the claims
       against Detective Rocco-McKeel. Thus, this Court has discretion to consider them.
       Based on the City Defendant[s’] motion to dismiss, it appears that the City is relying
       on the warrant to oppose Plaintiff’s claim . . . . If the motion to dismiss is not
       converted to a motion for summary judgment, the Court should not consider the
       outside materials brought in by the City as the content of the warrant is not central
       to the to claim of First Amendment retaliation . . . .
[Doc. 38 at 5 (emphasis added)]. In short, Plaintiff seems to suggest that the Court “has discretion
to consider” the warrant and admits that it is “part of a claim against Detective Rocco-McKeel.”
[Id.]. Mr. Loma does not reference any text from the warrant in his Amended Complaint but rather
singles out the Affidavit as the basis of his claims. Thus, this Court need, and does, not consider
it.
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Court’s subject matter jurisdiction—it may be considered at the motion to dismiss stage. Mr.

Malkowich’s declaration may therefore be considered at the motion to dismiss stage for the limited

purpose of resolving the question of subject matter jurisdiction.

       Because this Court finds that it may appropriately consider these extrinsic documents in

the context of a Motion to Dismiss, it respectfully declines to convert it to a motion for summary

judgment. See Humood v. City of Aurora, No. 12–cv–02185–RM–CBS, 2014 WL 4345410, at *5

(D. Colo. Aug. 28, 2014). This Court will first consider Defendants’ arguments with respect to

the CGIA and the CLEIA. The Court will then proceed to considering the defenses as to the

remaining Counts.

II.    CGIA – Counts Twelve and Thirteen

       The City Defendants argue that the Court lacks subject matter jurisdiction over two claims:

Count Twelve (for assault) and Count Thirteen (for battery). [Doc. 6 at ¶¶ 235–243]. Both claims

are raised solely against Sergeant Berger. [Id.]. City Defendants argue that the Colorado

Governmental Immunity Act (“CGIA”) deprives the Court of jurisdiction over both claims, as

Plaintiff failed to comply with the statute’s notice requirements. [Doc. 28 at 32–33].

       In relevant part, the CGIA immunizes “public employees” from liability in tort actions that

“arise[ ] out of an act or omission of such employee occurring during the performance of his duties

and within the scope of his employment unless the act or omission causing injury was willful and

wanton[.]” Colo. Rev. Stat. § 24-10-118(2)(a). The CGIA defines a “public employee” as “an

officer, employee, servant, or authorized volunteer of the public entity.” Colo. Rev. Stat. § 24-10-

103(4). Sergeant Berger is such a public employee, given his position as an employee of the

Denver Police Department. [Doc. 6 at ¶ 21]. See Bouchard v. Whetstone, 772 F. Supp. 2d 1352,

1360 (D. Colo. 2011) (noting that a police officer is a public employee for the purposes of a CGIA).



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        The CGIA further provides that a plaintiff must file written notice with the public employee

“within one hundred eighty-two days after the date of discovery of the injury, regardless of whether

the person knew all of the elements of a claim or of a cause of action for such injury.” Id. at § 24-

10-109(1). The notice must contain a “concise statement of the factual basis of the claim, including

the date, time, place, and circumstances of the act; the name and address of any public employee

involved; a concise statement of the nature and extent of the injury suffered; and a statement of

the amount of monetary damages requested.” Carothers v. Archuleta Cnty. Sheriff, 159 P.3d 647,

652 (Colo. App. 2006) (citing Colo. Rev. Stat. § 24-10-109(2)). This requirement is not onerous.

Hamon Contractors, Inc. v. Carter & Burgess, Inc., 229 P.3d 282, 298 (Colo. App. 2009)

(reasoning that “[t]he plaintiff has the relatively lenient burden of demonstrating that it complied

with the notice requirements” and must only show substantial compliance with the content

requirements). Still, the notice provision is a jurisdictional prerequisite to suit, and it applies even

when federal courts consider Colorado state law tort claims under supplemental jurisdiction.

Maestas v. Lujan, 351 F.3d 1001, 1013–14 (10th Cir. 2003). Battery and assault are such Colorado

state law tort claims, see Colo. Rev. Stat. § 13–80–103(1), and are thus subject to the CGIA’s

notice prerequisite.

        Here, Mr. Loma bears the burden of establishing subject matter jurisdiction, Port City

Props. v. Union Pac. R.R. Co., 518 F.3d 1186, 1189 (10th Cir. 2008), and asserts no allegations

that he attempted to comply with the CGIA’s notice provision in Counts Twelve or Thirteen (or

anywhere else in his Amended Complaint). 7 See generally [Doc. 6]. And, for Defendants’ part,



7
  Nor does Mr. Loma make any mention of attempted compliance with CGIA in his Response.
See generally [Doc. 38]. Instead, he argues that his claims for assault and battery are “covered
under SB-217, Law Enforcement Integrity Act” and that “[i]t cannot be said, with any credibility,
that citizen[s] of the State [are] not entitled to the right to be free from excessive force constituting
a tort.” [Id. at 22–23]. Plaintiff is apparently referencing the Enhance Law Enforcement Integrity
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they have produced a declaration from a claims adjuster employed by the City and County of

Denver who states that no notice of any claim “regarding or related to the subject matter of [this]

litigation” has been filed. [Doc. 28-3 at 2]. “When a plaintiff fails to plead compliance with the

CGIA, and a court addresses the case in the context of a motion to dismiss, the court must accept

as a matter of ‘fact’ that the plaintiff failed to comply with the notice provisions.” Aspen

Orthopedics & Sports Med., LLC v. Aspen Valley Hospital Dist., 353 F.3d 832, 840 (10th Cir.

2003). “This lack of compliance, then, is a jurisdictional issue.” Id. Mr. Loma’s failure to plead

that he provided notice under CGIA, and the City Defendants’ evidence that he did not, leads the

Court to conclude that it lacks subject matter jurisdiction over his assault and battery claims

contained in Counts Twelve and Thirteen of his Amended Complaint. The Court therefore

GRANTS the City Defendants’ Motion to Dismiss with respect to Counts Twelve and Thirteen. 8




Act (“ELEIA”), which creates a cause of action for individuals whose rights secured by Article II
of the Colorado Constitution (that is, the Colorado Constitution’s Bill of Rights) are violated by a
peace officer. See Colo. Rev. Stat. § 13-21-131. Mr. Loma’s claims for assault and battery are
common law torts, not constitutional claims, and he may not use his Response to amend the
Amended Complaint. Plotner v. Hodge, No. 17–cv–02584–PAB–STV, 2018 WL 2075849, at *4
(D. Colo. April 9, 2018) (quotations and alteration omitted) (“This Court does not consider
allegations that are raised for the first time in a response, even by a pro se plaintiff, and [the
plaintiff] may not amend his complaint via his Response.”); see also Cox v. Mobilex USA, No.
CIV-16-6-M, 2016 WL 4920185, at *4 (W.D. Okla. Aug. 16, 2016) (“[T]he Court should refuse
to consider any new claims that Plaintiff may have attempted to assert in his response to the Motion
to Dismiss.”). To the extent Mr. Loma wishes to raise excessive force claims under the Colorado
Constitution (which, as discussed infra, he may already have attempted to do), he must do so after
seeking leave to amend the Amended Complaint.
8
 Defendants make note that “an award of attorney fees is mandatory when a trial court dismisses
an action under the [CGIA] for lack of subject matter jurisdiction.” Smith v. Town of Snowmass
Village, 919 P.2d 868, 873 (Colo. App. 1996). The Court does not pass on that issue in the instant
Memorandum Opinion and Order, and leaves it to Defendants to raise the issue by appropriate
motion. See D.C.COLO.LCivR 54.3.
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III.   Colorado Law Enforcement Integrity Act – Counts Eight, Nine, Ten, and Eleven

       The City Defendants also argue that Mr. Loma’s claims raised “pursuant to SB-217” are

subject to dismissal because the state statute does not provide a cause of action for rights secured

by the United States Constitution. [Doc. 28 at 32]. As noted supra, Mr. Loma appears to be

referencing the Enhance Law Enforcement Integrity Act (“ELEIA”), which created a cause of

action for individuals whose rights are secured by Article II of the Colorado Constitution (that is,

the Colorado Constitution’s Bill of Rights) and are subsequently violated by a peace officer. See

Colo. Rev. Stat. § 13-21-131. These claims encompass Count Eight—raised against Detective

Rocco-McKeel—and Counts Nine, Ten, and Eleven, all raised against Sergeant Berger. [Doc. 6

at ¶¶ 192–234]. As the City Defendants point out, Plaintiff only alleges violations of the United

States Constitution in the Amended Complaint. [Id.]. Plaintiff does not respond substantively to

these purported shortcomings, and instead cites to Article II of the Colorado Constitution for the

proposition that his claims are “covered by” the state constitution’s Bill of Rights. [Doc. 38 at 22].

       Whether or not that is the case, the fact remains that Mr. Loma has not alleged a violation

of any single provision of the Colorado Constitution in his Amended Complaint. See [Doc. 6 at

¶¶ 192–234].    The Amended Complaint raises ELEIA claims under the First, Fourth, and

Fourteenth Amendments to the United States Constitution. See [Id.]. And ELEIA only creates a

cause of action against peace officers who deprive individuals of rights “secured by the bill of

rights, article II of the state constitution.” Colo. Rev. Stat. § 13-21-131(1). Once again, the Court

notes that Mr. Loma is represented in this matter and is not entitled to a liberal reading of his

pleadings. Mann, 477 F.3d at 1148 n.4. Even under such a liberal reading, the Amended

Complaint is clear that Counts Eight through Eleven are not state constitutional claims. It is not

enough to gesture at rights secured by the Colorado Constitution in his Response for Plaintiff to



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state a plausible claim for relief pursuant to ELEIA. As a result, the City Defendants’ Motion to

Dismiss with respect to Counts Eight, Nine, Ten, and Eleven is GRANTED.

IV.    Counts Two, Three, and Four Against Defendants Bronson, Drazen Smith, and
       Bordovsky

       Counts Two, Three, and Four of the Amended Complaint respectively allege: (1) a

violation of Mr. Loma’s First Amendment rights through an official policy of issuing Area

Restrictions; (2) a violation of Mr. Loma’s First Amendment rights through a custom amounting

to a widespread practice of issuing Area Restrictions; and (3) First Amendment retaliation based

on the Denver Defendants’ pattern of arresting and placing Mr. Loma under Area Restrictions for

filing the police. [Doc. 6 at ¶¶ 101–62]. Though not entirely clear, these Counts appear to assert

claims against the City under a Monell theory, and against Defendants Bronson, Drazen Smith,

and Bordovsky in their respective individual capacities. 9

       A.      Individual Defendants

       Defendant Bronson. The City Defendants argue that City Attorney Bronson should be

dismissed from this action because Mr. Loma has not alleged her individual participation in any

constitutional harm he has suffered. [Doc. 28 at 7–8]. It is axiomatic that under § 1983, when a

defendant is sued in her individual capacity, the Complaint must allege facts that show she

personally participated in the alleged violation. See Foote v. Spiegel, 118 F.3d 1416, 1423 (10th

Cir.1997); Jenkins v. Wood, 81 F.3d 988, 994–95 (10th Cir.1996) (“[P]laintiff must show the

defendant personally participated in the alleged violation, and conclusory allegations are not



9
  The City Defendants first argue that—because Mr. Loma relies “significantly” on a March 18,
2019 Area Restriction order—Counts Two, Three, and Four should be dismissed as untimely.
[Doc. 28 at 5–6]. Mr. Loma counters by arguing that his claims related to the Area Restriction are
timely because he could not obtain relief until dismissal of the charges against him that led to the
restriction and, alternatively, that the area restrictions were part of a continuous violation of his
rights that extend his time to file suit. [Doc. 38 at 5–7].
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sufficient to state a constitutional violation.”). Mr. Loma contends that he has sufficiently alleged

that Ms. Bronson “ratified” the policy of retaliating against him for the exercise of his First

Amendment rights. [Doc. 38 at 8]. In attempting to do so, Plaintiff references Ms. Bronson by

name in just one paragraph of his Amended Complaint, [Doc. 6 at ¶ 12 (“Defendant City Attorney

Kirstin M. Bronson is or was at all times relevant a citizen of the State of Colorado employed by

the City Attorney’s Office.”)], and individually by title on only one other occasion, [id. at ¶ 106

(“In the present matter, the City Attorney is the final decision maker as it relates to the prosecution

of municipal offenses in Denver Municipal Court.”)].

       Respectfully, the Court concludes that this is insufficient to state a claim against Ms.

Bronson in her individual capacity. Though Mr. Loma argues that Ms. Bronson is the final

decisionmaker in the City Attorney’s Office and that her staff routinely seek area restrictions for

“cases involving individuals [sic] arrest,” that does not bear on her individual liability. See [Doc.

38 at 8]. Instead, Plaintiff must allege either (1) that Ms. Bronson was personally involved in

unconstitutional conduct or (2) that she promulgated an unconstitutional policy. E.g. Brown v.

Montoya, 662 F.3d 1152, 1164–65 (10th Cir. 2011) (affirming grant of motion to dismiss where

complaint failed to allege that New Mexico secretary of corrections personally participated in

unconstitutional treatment or promulgated a policy that violated a clearly established constitutional

right). The Amended Complaint alleges neither, describing only Ms. Bronson’s job title and her

role as “final decision maker.” [Doc. 6 at ¶¶ 12, 106]. And while Mr. Loma later argues that Ms.

Bronson has “ratified” her staff’s unconstitutional practices, he only raises that point in his

Response—the incorrect vehicle for doing so – and does so without offering any factual averments




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as opposed to a legal conclusion. 10 Plotner v. Hodge, No. 17–cv–02584–PAB–STV, 2018 WL

2075849, at *4 (D. Colo. April 9, 2018). As such, the City Defendants’ Motion is GRANTED

with respect to claims raised against Ms. Bronson.

       Defendant Drazen Smith. As far as the Court can discern, Ms. Drazen Smith’s only

alleged involvement in Mr. Loma’s constitutional claims is the email she authored on March 4,

2019 referencing area restrictions. See [Doc. 6 at ¶¶ 109, 116].

       “A statute of limitations defense may be appropriately resolved on a Rule 12(b) motion

when the dates given in the complaint make clear that the right sued upon has been extinguished.”

Sierra Club v. Okla. Gas & Elec. Co., 816 F.3d 666, 671 (10th Cir. 2016) (internal quotation marks

omitted). If from the complaint, “the dates on which the pertinent acts occurred are not in dispute,

[then] the date a statute of limitations accrues is . . . a question of law” suitable for resolution at

the motion to dismiss stage. Edwards v. Int’l Union, United Plant Guard Workers of Am., 46 F.3d

1047, 1050 (10th Cir. 1995). State law determines the applicable statute of limitations for a § 1983

action. See Owens v. Okure, 488 U.S. 235, 249–50 (1989) (holding that “where state law provides

multiple statutes of limitations for personal injury actions, courts considering § 1983 claims should

borrow the general or residual statute for personal injury actions”). The applicable statute of

limitations for a § 1983 claim in Colorado is two years. See Blake v. Dickason, 997 F.2d 749, 750–

51 (10th Cir. 1993) (citing Colo. Rev. Stat. § 13–80–102(1)(i) (residual statute of limitations for

personal injury actions)). But while state law governs limitations and tolling issues, federal law

determines the accrual of § 1983 claims. Baker v. Bd. of Regents, 991 F.2d 628, 632 (10th Cir.




10
  Mr. Loma’s reference to “an email sent by the City Attorney” includes no citation to the
Amended Complaint, and this Court’s review of the Amended Complaint revealed no mention of
any email sent by the City Attorney, let alone any factual averments regarding its substantive
content. See generally [Doc. 6].
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1993). A civil rights action accrues when “facts that would support a cause of action are or should

be apparent.” Blumberg v. HCA Mgmt. Co., 848 F.2d 642, 645 (5th Cir. 1988); see also Johnson

v. Johnson Cnty. Comm’n Bd., 925 F.2d 1299, 1301 (10th Cir. 1991).

       Even assuming that the factual allegations against Defendant Drazen Smith are sufficient,

they are time-barred, as Mr. Loma’s cause of action against Defendant Drazen Smith accrued no

later than March 18, 2019 when it was imposed. Mr. Loma filed his original Complaint on August

13, 2021. [Doc. 1]. That is over two years after March 4, 2019. It is well-settled that § 1983

claims are not tolled during the pendency of criminal proceedings (even where a state actor

continues to participate in those proceedings). Mata v. Anderson, 635 F.3d 1250, 1253 (10th Cir.

2011) (reasoning that § 1983 First Amendment retaliatory prosecution claims accrued on date

officer filed criminal complaint against plaintiff, not at the conclusion of criminal proceedings).

thus barring his claims against Ms. Drazen Smith under § 1983. See Blake, 997 F.2d at 750–51.

Mr. Loma does not allege any continuing or repeated involvement by Ms. Drazen Smith following

March 4, 2019, which falls outside the bounds of the two-year statute of limitations period. Nor

does Mr. Loma allege that he only realized at a later time that he was subject to an official policy

of imposing area restrictions due to the exercise of his First Amendment rights.

       The Court therefore GRANTS the City Defendants’ Motion to Dismiss with respect to Ms.

Drazen Smith. 11




11
   The Court further notes that “acts undertaken by a prosecutor in preparing for the initiation of
judicial proceedings or for trial, and which occur in the course of his role as an advocate for the
State,” render that prosecutor immune for civil liability. Buckley v. Fitzsimmons, 509 U.S. 259,
273 (1993). While this Court need not decide whether Ms. Drazen Smith’s email alone implicates
prosecutorial immunity, it recognizes that she is not civilly liable for acts undertaken by a
prosecutor in the course of her role in preparing for the initiation of judicial proceedings like those
directed at Mr. Loma in this matter in state court.
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       Assistant Director Marley Bordovsky. Aside from identifying Ms. Bordovsky and her

employer, [Doc. 6 at ¶ 14], Mr. Loma makes allegations with respect to Ms. Bordovsky in just two

paragraphs, [id. at ¶¶ 119 (“The City Attorney listed on the Area Restriction is Marely [sic]

Bordovsky.    Ms. Bordovsky is also the City Attorney listed on Mr. Loma’s prior Area

Restriction.”), 122 (“City Attorney Marley Brodovsky [sic] has reviewed these cases and sought

to restrict Mr. Loma from downtown Denver.”)]. That Area Restriction was issued on March 18,

2019. [Doc. 6 at ¶ 114]. Mr. Loma responds by contending that she was responsible for seeking

more than one Area Restriction, and raises a set of new allegations stemming from her involvement

in an unrelated criminal case. [Doc. 38 at 9–10].

       As an initial matter, the Court’s attention is constrained to allegations contained in the

Amended Complaint, not those raised for the first time in Plaintiff’s Response. Plotner, 2018 WL

2075849, at *4. The only allegations as to Ms. Bordovsky fall outside the statute of limitations

period, and there are no factual allegations in the Amended Complaint that Ms. Bordovsky

engaged in repeated acts to constitute a continuing violation. See generally [Doc. 6]. The Court

therefore GRANTS the City Defendants’ Motion to Dismiss with respect to Defendant Bordovsky.

       B.      The City

       As an initial matter, taking all factual allegations as true and without determining whether

Mr. Loma can ultimately establish that this conduct amounts to a continuing violation, this Court

respectfully declines to dismiss Counts Two, Three, and Four against the City on statute of

limitations grounds because it cannot clearly discern from the Amended Complaint that the right

to sue has been extinguished. See e.g., Cosgrove v. Kan. Dep’t of Soc. & Rehab. Servs., 332 F.

App’x 463, 467 (10th Cir. 2009) (where the complaint did not contain dates clearly setting forth

when the injury was discovered, the complaint did not make clear that the right to sue had been



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extinguished and statute of limitations did not apply). Thus, it turns to assessing whether Mr.

Loma has stated cognizable claims for municipal liability.

       It is axiomatic that government entities can be sued directly only where “the action that is

alleged to be unconstitutional implements or executes a policy statement, ordinance, regulation, or

decision officially adopted and promulgated by that body’s officers.” 12 Monell v. Dep’t of Soc.

Servs. of City of New York, 436 U.S. 658, 690 (1978). In order to state a claim for the liability of

local government entities under § 1983, a plaintiff must allege “(1) the existence of a municipal

custom or policy and (2) a direct causal link between the custom or policy and the violation

alleged.” Jenkins v. Wood, 81 F.3d 988, 993–94 (10th Cir. 1996) (citing City of Canton v. Harris,

489 U.S. 378, 385 (1989)). A plaintiff may make out a Monell claim by showing the existence of:

       (1) a formal regulation or policy statement; (2) an informal custom amounting to a
       widespread practice that, although not authorized by written law or express
       municipal policy, is so permanent and well settled as to constitute a custom or usage
       with the force of law; (3) the decisions of employees with final policymaking
       authority; (4) the ratification by such final policymakers of the decisions – and the
       basis for them – of subordinates to whom authority was delegated subject to these
       policymakers’ review and approval; or (5) the failure to adequately train or
       supervise employees, so long as that failure results from deliberate indifference to
       the injuries that may be caused.

Bryson v. City of Okla. City, 627 F.3d 784, 788 (10th Cir. 2010) (quotation, alteration marks, and

citations omitted). Because Mr. Loma alleges the existence of both an unconstitutional official

policy (Count Two) and unconstitutional customs (Counts Three and Four), the Court addresses

each separately.




12
  Such claims are commonly referred to as “Monell” claims. See Pastore v. Bd. of Cnty. Commr’s
for Cnty. of Catron, 572 F. Supp. 3d 1100, 1110 (D.N.M. 2021).
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       A.      Official Policy – Count Two

       In Count Two of the Amended Complaint, Mr. Loma contends—at bottom—that Denver

maintains an official policy of issuing area restrictions to individuals who are arrested in the course

of exercising their rights to free speech under the First Amendment to the United States

Constitution. See [Doc. 6 at ¶ 129]. The City Defendants argue that Plaintiff has failed to

sufficiently allege the existence of such a policy, first because he does not claim that challenged

conduct was taken pursuant to a policy adopted by an official with policymaking authority and,

second, because Ms. Drazen Smith’s March 4, 2019 email does not actually evidence the existence

of an unconstitutional policy.

       The Court respectfully agrees with the City Defendants on both counts. Even assuming

Ms. Drazen Smith’s email—which forms the basis for Mr. Loma’s municipal liability claims, see

[Doc. 38 at 18] reflects a policy of seeking Area Restrictions to violate the free speech rights of

individuals, Plaintiff does not allege that Ms. Drazen Smith possesses final policymaking authority

over the City Attorney’s Office and “only those municipal officials who have final policymaking

authority may by their actions subject the government to § 1983 liability.” City of St. Louis v.

Praprotnik, 485 U.S. 112, 123 (1988) (internal quotation marks omitted). To the contrary, Mr.

Loma alleges that Ms. Bronson possesses that authority. [Doc. 6 at ¶ 106].

       The Amended Complaint contains no factual allegations that Ms. Bronson authored the

email in question. Plaintiff references Ms. Bronson’s “ratification” of an official policy in his

Response.    [Doc. 38 at 8].      While a municipality may be held liable for an employee’s

unconstitutional conduct under § 1983 if it ratifies that employee’s unconstitutional conduct,

Praprotnik, 485 U.S. at 127; Moss v. Kopp, 559 F.3d 1155, 1169 (10th Cir. 2009), the Amended

Complaint does not contain any factual allegation to support a legal conclusion of ratification. For



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instance, there is no allegation that any individual with policymaking authority, Defendant

Bronson or otherwise, affirmatively approved Ms. Drazen Smith’s email. Indeed, there is no

allegation that Defendant Bronson was even aware of the email, and her name does not appear on

the fact of the email at issue. [Doc. 28-1]. Furthermore, “mere acquiescence in a single

discretionary decision by a subordinate is not sufficient to show ratification.” Boudette v.

Buffington, No. 18-cv-02420-CMA-MEH, 2020 WL 6119521, at *11 (D. Colo. Feb. 21, 2020),

report and recommendation adopted, 2020 WL 4593220 (D. Colo. Aug. 11, 2020).

       Second, Mr. Loma has not sufficiently alleged facts upon which the Court could determine

that an official (and unconstitutional) policy directing City Attorney’s Office officials to seek Area

Restrictions existed. Mr. Loma is required to allege must allege facts that allow a factfinder to

conclude that Denver “intended the unconstitutional conduct to happen or was deliberately

indifferent to the possibility that unconstitutional conduct[ ] would result from the policies.”

Mullins v. City of Colo. Springs, 575 F. Supp. 3d 1360, 1377 (D. Colo. 2021) (citing Jenkins, 81

F.3d at 994). Standing alone, Ms. Drazen Smith’s email does not sufficiently reflect the existence

of such intent on the part of city officials with policymaking authority, and Mr. Loma does not

allege additional facts to permit a factfinder to draw such a conclusion. “[A]t the pleading stage,

the existence of a Monell policy is a conclusion to be built up to, rather than a fact to be baldly

asserted.” Erickson v. City of Lakewood, 489 F. Supp. 3d 1192, 1206 (D. Colo. 2020) (citation

and internal quotations omitted). Mr. Loma’s bare allegations of the existence of an official policy

in Count Three do not build to that conclusion, and rest on the type of assertions that are

insufficient to “nudge[ ]” the claim “across the line from conceivable to plausible.” Robbins, 519

F.3d at 1247. It follows that the City Defendants’ Motion to Dismiss with respect to Denver in

Count Two is GRANTED.



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       B.      Custom – Counts Three and Four

       In Counts Three and Four, Mr. Loma alleges two unconstitutional customs, rather than

official policies, exist. “[A]n act performed pursuant to a custom that has not been formally

approved by an appropriate decisionmaker may fairly subject a municipality to liability on the

theory that the relevant practice is so widespread as to have the force of law.” Bryan Cnty. v.

Brown, 520 U.S. 397, 404 (1997) (internal quotation marks omitted); see also Praprotnik, 485

U.S. at 127 (establishing an informal policy or custom requires the plaintiff to show that the

misconduct was widespread—that is, that it involved a series of decisions). In Count Three,

Plaintiff alleges the existence of a custom of using Area Restrictions to chill the First Amendment

rights of individuals who are arrested or issued a summons while peacefully protesting. See [Doc.

6 at ¶¶ 128–45]. In Count Four, Mr. Loma alleges the existence of a custom of retaliating against

those individuals who choose to exercise their First Amendment right to record the actions of

police officers. See [id. at ¶¶ 146–62]. Nevertheless, in reviewing the Amended Complaint, this

Court respectfully concludes that there are insufficient factual averments to permit Counts Three

and Four to survive this instant Motion to Dismiss.

       Count Three. In Count Three, Mr. Loma points to many of the same underlying facts as

alleged in Count Two; the principal difference seems to be that he is alleging the existence of a

custom of unconstitutional behavior rather than an official policy. Mr. Loma defines that custom

as one wherein Denver issues “Area Restrictions for those individuals who are arrested or issued

a Summons while exercising their Free Speech Rights in order to keep them from the downtown

Denver area.” [Doc. 6 at ¶ 129]. “In attempting to prove the existence of such a continuing,

persistent and widespread custom, plaintiffs most commonly offer evidence suggesting that

similarly situated individuals were mistreated by the municipality in a similar way.” Hernandez v.



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City & Cnty. of Denver, No. 21-CV-01538-PAB-MEH, 2022 WL 3597452, at *5 (D. Colo. Aug.

23, 2022) (quoting Carney v. City & Cnty. of Denver, 534 F.3d 1269, 1274 (10th Cir. 2008)

(quotations omitted)).

       But, as with his claims predicated upon the existence of an official policy of

unconstitutional conduct, Mr. Loma fails to support this bald assertion with sufficient factual

allegations. Aside from his own Area Restrictions—which, as discussed above, are not sufficient

evidence of an unconstitutional policy—Mr. Loma only gestures at other cases that “Plaintiff’s

attorney’s law firm has defended.” [Id. at ¶ 137]. The Amended Complaint does not articulate

facts that allow a factfinder to conclude that an unconstitutional policy exists; for instance, there

are no factual assertions that identify these other cases; the circumstances behind them; or any

overlapping decision-makers. Absent supporting factual allegations, Count Three—as raised

against Denver—is subject to dismissal.

       Count Four. In Count Four, Mr. Loma alleges that the City and non-party the Denver

Police Department have joined together to retaliate against him for the exercise of his First

Amendment rights by arresting him and implementing area restrictions against him to prevent him

from filming the police and exposing failures within the City when it comes to policing. [Doc. 6

at ¶¶ 146–62].

       In either case, the only allegations supporting his claim are (1) the Drazen Smith email

[Doc. 28-1], (2) a pattern of arrests and other interactions with Denver police officers, and (3) the

breaking of his phone in November 2020. First, the Drazen Smith email is not evidence of a

custom or practice so “widespread as to have the force of law.” See Bryan Cnty., 520 U.S. at 404

(internal quotation marks omitted). And even on its own terms, the email does not outline an

unconstitutional policy; if anything, it discusses how difficult the City Attorney’s office has found



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the process of obtaining area restrictions in a significant number of cases to be. See [Doc. 28-1].

Second, the fact that Plaintiff has been arrested repeatedly is not sufficient to allege a widespread

custom on Denver’s part to restrict rights guaranteed by the First Amendment. Though Plaintiff

alleges that “[i]t is clear that the city of Denver and the Denver Police do not appreciate” his

advocacy, [Doc. 6 at ¶ 156], it is far from evident on the face of the Amended Complaint that his

arrests related at all to his First Amendment rights. Nor does the fact that he has raised “wrongful

arrest and excessive force claims since 2018” change this analysis, [id. at ¶ 161], as Plaintiff’s own

civil litigation does not bear on the existence of an unconstitutional custom that is actionable under

§ 1983. Third and finally, Plaintiff points to the November 2020 incident in which his phone was

allegedly shattered by Sergeant Berger. Taking that allegation as true, it still falls short of plausibly

alleging the existence of a widespread custom of retaliating against individuals—Plaintiff

included—for the exercise of their rights guaranteed by the First Amendment. 13

        In sum: the Court finds that these three allegations are insufficient to plausibly allege a

widespread practice of constitutional violations, much less a practice “so permanent and well

settled as to constitute a custom or usage with the force of law.” Bryan Cnty., 520 U.S. at 404; see

Waller v. City & Cnty. of Denver, 932 F.3d 1277, 1290 (10th Cir. 2019) (finding that one prior

similar incident fell “far short” of plausibly alleging the existence of an informal policy). It follows

that the City Defendants’ Motion to Dismiss Counts Three and Four as raised against Denver is

GRANTED.




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   Of course, the Court discusses claims raised against Sergeant Berger in his individual capacity
infra in more detail.
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VI.     Qualified Immunity for Law Enforcement Defendants – Counts One, Four, Five, Six,
        and Seven

        The City Defendants also move to dismiss claims raised against the law enforcement

Defendants that Mr. Loma has named in the Amended Complaint—Corporal Smith (Counts One

and Four), Detective Rocco-McKeel (Counts Four, Five, and Eight), Sergeant Burton (Count

Four), and Sergeant Berger (Counts Four, Six, Seven, Nine, Ten, and Eleven)—on qualified

immunity grounds. For the reasons discussed herein, supra §§ I–IV, only Counts One, Five, Six,

and Seven remain at issue. Mr. Loma claims that qualified immunity does not shield any of the

aforementioned law enforcement officials from liability.

        The doctrine of qualified immunity protects public officials whose possible violation of a

plaintiff’s civil rights was not clearly a violation at the time of the official’s actions from litigation.

See Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Accordingly “[q]ualified immunity balances

two important interests—the need to hold public officials accountable when they exercise power

irresponsibly and the need to shield officials from harassment, distraction, and liability when they

perform their duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). Because

qualified immunity is an immunity from suit, rather than a mere defense to liability, it is effectively

lost if a case is erroneously permitted to go to trial. Id. at 231; Ahmad v. Furlong, 435 F.3d 1196,

1198 (10th Cir. 2006) (“The privilege is an immunity from suit rather than a mere defense to

liability.”).

        When a defendant asserts qualified immunity, the plaintiff has a two-fold burden to

overcome the asserted immunity: (1) “rebut the [defendant’s] no-constitutional-rights arguments”

and (2) “demonstrate that any constitutional violation was grounded in then-extant clearly

established law.” Cox v. Glanz, 800 F.3d 1231, 1245 (10th Cir. 2015) (citing Riggins v. Goodman,

572 F.3d 1101, 1107 (10th Cir. 2009)); see also Felders v. Malcom, 755 F.3d 870, 877–78 (10th

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Cir. 2014) (“[T]he ‘record must clearly demonstrate the plaintiff has satisfied his heavy two-part

burden; otherwise, the defendants are entitled to qualified immunity.’”) (quoting Medina v. Cram,

252 F.3d 1124, 1128 (10th Cir. 2001)). An official’s conduct violates clearly established law

when, at the time of the challenged conduct, “[t]he contours of [a] right [are] sufficiently clear”

that every “reasonable official would have understood that what he is doing violates that right.”

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). To satisfy the clearly established prong of the test,

the Tenth Circuit requires that “there must be a Supreme Court or Tenth Circuit decision on point,

or the clearly established weight of authority from other courts must have found the law to be as

the plaintiff maintains.” Clark v. Wilson, 625 F.3d 686, 690 (10th Cir. 2010).

        Courts employ a two-step process for resolving qualified immunity questions: “First, a

court must decide whether the facts that a plaintiff has alleged . . . make out a violation of a

constitutional right . . . . Second, if the plaintiff has satisfied this first step, the court must decide

whether the right at issue was clearly established at the time of the defendant’s alleged

misconduct.” Pearson, 555 U.S. at 232 (quoting Saucier v. Katz, 533 U.S. 194 (2001) (internal

citations and quotation marks removed)). However, the Supreme Court has afforded courts the

discretion to decide “which of the two prongs of the qualified immunity analysis should be

addressed first in light of the circumstances in the particular case at hand.” Id. at 236; see also

Christensen v. Park City Mun. Corp., 554 F.3d 1271, 1277 (10th Cir. 2009).

        The Tenth Circuit has repeatedly emphasized that it is a plaintiff’s obligation to cite to

cases that satisfy the burden of demonstrating the asserted law is clearly established. Thomas v.

Durastanti, 607 F.3d 655, 669 (10th Cir. 2010) (“The plaintiff bears the burden of citing to us what

he thinks constitutes clearly established law.”); see also Gutierrez v. Cobos, 841 F.3d 895, 903

(10th Cir. 2016) (“Plaintiffs failed to carry their burden of showing that [the defendants] violated



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clearly established federal law because their counsel did not make any legal argument in the district

court to rebut qualified immunity.”); Rojas v. Anderson, 727 F.3d 1000, 1004 (10th Cir. 2013)

(finding that, although the plaintiff “might well have been able to satisfy us that Defendants’

actions violated his clearly established rights,” the plaintiff “through his counsel, [has simply]

failed to carry the burden assigned to him by law”). For the law to be clearly established, there

must be a Supreme Court or Tenth Circuit decision on point, or the clearly established weight of

authority from other courts must support Mr. Loma’s position. Doe v. Woodard, 912 F.3d 1278,

1289 (10th Cir. 2019), cert. denied sub nom., I.B. v. Woodard, 139 S. Ct. 2616 (2019).

       “The question is not whether there is a prior case with precisely the same facts, but ‘whether

the law put officials on fair notice that the described conduct was unconstitutional.’” Mayfield v.

Bethards, 826 F.3d 1252, 1258 (10th Cir. 2016) (citation omitted). The Tenth Circuit has

“cautioned that defining a right too narrowly risks making recovery against a public official

virtually impossible because only ‘those rare cases in which a precedential case existed which was

‘on all fours’ factually with the case at bar’ would abrogate qualified immunity.” Id. (citation

omitted). On the other hand, the Supreme Court has “repeatedly told courts not to define clearly

established law at a high level of generality since doing so avoids the crucial question whether the

official acted reasonably in the particular circumstances that he or she faced.” Estate of B.I.C. v.

Gillen, 761 F.3d 1099, 1106 (10th Cir. 2014) (quoting Plumhoff v. Rickard, 572 U.S. 765, 779

(2014)). “Put simply, qualified immunity protects ‘all but the plainly incompetent or those who

knowingly violate the law.’” Mullenix v. Luna, 577 U.S. 7, 12 (2015) (quoting Malley v. Briggs,

475 U.S. 335, 341 (1986)).




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       A.      Corporal Smith

       Count One. Mr. Loma first names Corporal Smith as a defendant in Count One of the

Amended Complaint, in which he raises a § 1983 claim under the Fourth Amendment for malicious

prosecution. 14 To state a claim for malicious prosecution under the Fourth Amendment, a plaintiff

must allege that: “(1) the defendant caused the plaintiff’s continued confinement or prosecution;

(2) the original action terminated in favor of the plaintiff; (3) no probable cause supported the

original arrest, continued confinement, or prosecution; (4) the defendant acted with malice; and

(5) the plaintiff sustained damages.” The “favorable termination” element only requires a plaintiff

to show that his criminal prosecution “ended without a conviction.” Thompson v. Clark, 142 S.

Ct. 1332, 1341 (2022).

       The Supreme Court has held that, because malicious prosecution claims are Fourth

Amendment claims, a plaintiff must prove that he was also seized in order to prevail. Albright v.

Oliver, 510 U.S. 266, 271 (1994). Significantly, Mr. Loma does not allege he was arrested nor

incarcerated by Corporal Smith; rather, he was issued a criminal summons. [Doc. 6 at ¶ 39]. The

Tenth Circuit has held that “[w]hatever may be the logic to this argument [that a criminal summons

amounted to seizure because it had a legal effect on plaintiff’s freedom of movement], [] precedent

dictates otherwise.” Nielander v. Bd. of Cnty. Comm’rs of Cnty. of Republic, 582 F.3d 1155, 1165

(10th Cir. 2009) (internal citation omitted). Instead, the Tenth Circuit has “conclude[d] that the



14
   Section 1983 “does not create any substantive rights, but merely provides relief against those
who, acting under color of law, violate federal rights created elsewhere.” Reynolds v. Sch. Dist.
No. 1, 69 F.3d 1523, 1536 (10th Cir. 1995). Plaintiff does not cite a specific constitutional
provision that he believes has been violated in Count One. Nevertheless, the Court looks to the
entire Complaint and applicable law to determine the specific constitutional violation alleged.
While not entirely clear from the Amended Complaint, the Court concludes Count One invokes
the Fourth Amendment. See Margheim v. Buljko, 855 F.3d 1077, 1085 (10th Cir. 2017) (citing
Wilkins v. DeReyes, 528 F.3d 790, 799 (10th Cir. 2008)). Indeed, in his Response, Mr. Loma
discusses the Fourth Amendment. [Doc. 38 at 14].
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issuance of a citation, even under threat of jail if not accepted, does not rise to the level of a Fourth

Amendment seizure.” Martinez v. Carr, 479 F.3d 1292, 1299 (10th Cir. 2007) (comparing its

conclusion to other Courts of Appeals). See Lewis v. Rock, 48 F. App’x 291, 294 (10th Cir. 2002)

(“Because [the plaintiffs] have not shown they sustained any other deprivations of liberty in

connection with their receipt of the summonses, they have failed to show they were seized in

violation of the Fourth Amendment.”).

        Plaintiff implicitly acknowledges in his Response that the issuance of a criminal summons

does not amount to a seizure under the Fourth Amendment. [Doc. 38 at 14]. Mr. Loma then

pivots, and contends that “Corporal Smith did in fact seize Mr. Loma prior to giving Mr. Loma a

summons.” [Id. (emphasis added)]. Specifically, Mr. Loma argues that Corporal Smith “did his

investigation on the scene and restricted Mr. Loma’s freedom of movement when he instructed

him not to leave.” [Id.]. As an initial matter, Mr. Loma’s Amended Complaint makes no mention

of such actions, and thus, they are not properly before this Court. See, e.g., Evans v. McDonald’s

Corp., 936 F.2d 1087, 1091 (10th Cir. 1991). Furthermore, even if the Court were to consider this

additional allegation, it would be insufficient to state a cognizable “seizure” for the purposes of a

malicious prosecution claim.        The Court accordingly GRANTS that portion of the City

Defendants’ Motion.

        Count Four. Corporal Smith is also named in Count Four, and Mr. Loma alleges that

Corporate Smith retaliated against him for exercising his First Amendment right to free speech.

[Doc. 6 at 20]. While “the First Amendment prohibits government officials from subjecting an

individual to retaliatory actions, including criminal prosecutions, for speaking out,” Hartman v.

Moore, 547 U.S. 250, 256 (2006) (internal citations omitted), to state a cognizable claim of

retaliation for the exercise of First Amendment rights, a plaintiff must articulate facts that allow



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the factfinder to conclude: (1) the plaintiff was engaged in a constitutionally protected activity; (2)

the defendant’s actions caused the plaintiff to suffer an injury that would chill a person of ordinary

firmness from continuing to engage in the activity; and (3) the plaintiff’s exercise of the

constitutionally protected activity substantially motivated the defendant’s adverse action. Van

Deelen v. Johnson, 497 F.3d 1151, 1155–56 (10th Cir. 2007).

       Notably, Plaintiff does not specifically reference Corporal Smith within the body of Count

Four. [Id. at ¶¶ 146–162]. Nor does Mr. Loma identify any allegations with respect to Corporal

Smith’s alleged retaliation in his Response to the Motion to Dismiss. [Doc. 38 at 13-14, 18-21].

This Court is mindful of its duty to take Plaintiff’s allegations as true, but even at the Motion to

Dismiss phase, a plaintiff must identify facts alleged in the operative pleading, taken as true, that

allow a factfinder to find in his favor. See Backus v. Univ. of Colo., No. 15–cv–01340–REB–

NYW, 2015 WL 10490565, at *4 (D. Colo. Dec. 14, 2015). In addition, Plaintiff has been

represented by able counsel since the inception of this action. See United States v. Davis, 622 F.

App’x 758, 759 (10th Cir. 2015) (“[I]t is not this court’s duty, after all, to make arguments for a

litigant that he has not made for himself”); Phillips v. Hillcrest Med. Ctr., 244 F.3d 790, 800 n.10

(10th Cir. 2001) (observing that the court has no obligation to make arguments or perform research

on behalf of litigants). The Court accordingly concludes that Plaintiff has failed to state a claim

against Corporal Smith in Counts One and Four that could overcome a defense of qualified

immunity, and GRANTS the Motion to Dismiss with respect to both counts as raised against

Corporal Smith.

       B.      Detective Rocco-McKeel

       Count Four. Count Four of the Amended Complaint names Detective Rocco-McKeel,

and is premised on the allegation that Mr. Loma has experienced retaliation for the exercise of his



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First Amendment rights. Though Plaintiff does not allege facts with respect to Detective Rocco-

McKeel within the body of Count Four, the Court construes Count Four to allege that Detective

Rocco-McKeel obtained a search warrant for Mr. Loma’s phone in retaliation for his exercise of

his First Amendment rights. [Doc. 6 at ¶ 146 (“incorporate[ing] by reference herein all preceding

allegations set forth”); Doc. 38 at 15-16]. Though not entirely clear, it also appears that Mr. Loma

contends that the failure to return his phone once he was released also amounts to retaliation in

violation of his First Amendment rights. [Doc. 38 at 15-16].

       The Amended Complaint contains no factual allegations that Detective Rocco-McKeel

sought a search warrant in retaliation for Mr. Loma’s exercise of his First Amendment rights. Mr.

Loma’s Response comes closer to doing so, but focuses on the existence of a right to film police

officers performing their duties. [Doc. 38 at 15–16]. The Court declines to read such allegations

into Mr. Loma’s Amended Complaint. Without such allegations, the Court cannot conclude that

Detective Rocco-McKeel has violated Mr. Loma’s clearly-established First Amendment right. It

follows that the Court GRANTS the Motion with respect to Count Four of the Amended

Complaint as raised against Detective Rocco-McKeel.

       Count Five. Count Five is also raised against Detective Rocco-McKeel, albeit this time

under the Fourth Amendment to the United States Constitution. Mr. Loma challenges the breadth

of the Affidavit supplied by Detective Rocco-McKeel, arguing that it sought a “general,

exploratory examination into almost everything held on” his phone. [Doc. 6 at ¶ 171]. In addition,

in Response to the Motion to Dismiss, Mr. Loma argues that using his phone after it was seized

for one case with a warrant and then transferring it to another jurisdiction when Mr. Loma was

entitled to his property via a court order constitutes an unlawful seizure under the Fourth

Amendment. [Doc. 38 at 16]. Again, this Court will not consider the argument raised in the



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Response that is not reflected in the Amended Complaint. Plotner, 2018 WL 2075849, at *4

(citing Luck v. Smith, No. 17-cv-00183-WJM-NYW, 2017 WL 3970512, at *4 (D. Colo. Sept. 8,

2017)).

          Mr. Loma’s allegations against Detective Rocco-McKeel in the Amended Complaint

appear premised upon his execution of an affidavit issued in support of a search warrant—not the

warrant itself. And it is well established that “[t]he Fourth Amendment by its terms requires

particularity in the warrant, not in the supporting documents” or in “the papers presented to the

judicial officer asked to issue the warrant.” Groh v. Ramirez, 540 U.S. 551, 557 (2004) (quoting

United States v. Stefonek, 179 F.3d 1030, 1033 (7th Cir.1999)); see also United States v. Hurwitz,

459 F.3d 463, 470 (4th Cir. 2006) (“Significantly, the particularity requirement applies to the

warrant, as opposed to the application or the supporting affidavit submitted by the applicant.”

(emphasis added)). “And for good reason: the description of what is sought to be seized is written

in, or incorporated into, the warrant to ensure that the executing officer(s) stay within the specific

bounds set by the issuer.” United States v. Suggs, 998 F.3d 1125, 1136 (10th Cir. 2021) (emphasis

added). “Otherwise, we might indeed elevate the author of the unincorporated affidavit over the

warrant’s issuer, thereby transforming the independent magistrate into little more than a rubber

stamp.” Id. Plaintiff does not challenge the particularity of the warrant itself in the Amended

Complaint; rather, he challenges Detective Rocco-McKeel’s Affidavit supporting the warrant. See,

e.g., [Doc. 6 at ¶¶ 55–57 (specifically referencing the “Search Warrant Affidavit”)]. Whether or

not the Affidavit itself is overbroad is thus of no moment to this Court, which is tasked with

considering the breadth of the warrant.




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       Mr. Loma has thus failed to allege that Detective Rocco-McKeel has violated a clearly

established right guaranteed by the Fourth Amendment. As such, the Court GRANTS the Motion

with respect to Count Five as raised against Detective Rocco-McKeel.

       C.      Sergeant Burton

       Sergeant Burton is only named in Count Four of Plaintiff’s Amended Complaint. Mr.

Loma avers that in response to being told by arresting officers that Mr. Loma wished to have his

attorney present during questioning, Sergeant Burton responded “Never mind, we will just take

his phone.” [Doc. 6 at ¶¶ 165–67]. As the City Defendants note, this is the only factual allegation

raised against Sergeant Burton. [Doc. 28 at 24].

       This Court finds it dispositive that Mr. Loma has failed to allege facts sufficient to

demonstrate that Defendant Burton’s statement caused him to suffer an injury. As the City

Defendants point out, there is no allegation that Defendant Burton was the individual who took

Mr. Loma’s phone. See generally [Doc. 28 at 24; Doc. 6]. In addition, there is no allegation that

the arresting officers to whom Defendant Burton was speaking took Mr. Loma’s phone upon

direction from Defendant Burton. See generally [Doc. 6]. Mr. Loma fails to specifically address

Defendant Burton at all in his Response. See generally [Doc. 38]. Notably, courts routinely deem

an issue “waived” when a party fails to respond to a movant’s substantive argument. See,

e.g., Rock Roofing, LLC v. Travelers Cas. & Sur. Co., 413 F. Supp. 3d 1122, 1128 (D.N.M. 2019)

(plaintiff’s failure to respond to defendant’s argument waived the issue); Zane v. Kramer, 195 F.

Supp. 3d 1243, 1256 (W.D. Okla. 2016); Palmer v. Unified Gov’t of Wyandotte Cty./Kan. City,

Kan., 72 F. Supp. 2d 1237, 1250–51 (D. Kan. 1999). So too here.

       As such, the City Defendants’ Motion is GRANTED with respect to Sergeant Burton.




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        D.      Sergeant Berger

        Finally, the City Defendants argue that Sergeant Berger is entitled to qualified immunity

for the allegations contained in Counts Six and Seven of Mr. Loma’s Amended Complaint.15

Count Four is raised under the First Amendment, and appears to allege that Sergeant Berger

shattered his phone in retaliation for filming the police. Count Six is couched as a claim for the

unconstitutional seizure of property under the Fourteenth Amendment, while Count Seven is raised

as an excessive force claim under the Fourteenth Amendment. For the reasons set forth below, the

Court finds that dismissal is improper with respect to each count.

        Count Four. Count Four is raised against Sergeant Berger for alleged retaliation in

response to his exercise of his right to film police officers in the course of their duties, in violation

of the First Amendment. To state a First Amendment retaliation claim, a plaintiff must allege facts

showing (1) that he was engaged in constitutionally protected activity; (2) that Sergeant Berger’s

actions caused him to suffer an injury that would chill a person of ordinary firmness from

continuing to engage in that activity; and (3) that Sergeant Berger’s adverse action was

substantially motivated as a response to Mr. Loma’s exercise of constitutionally protected conduct.

See Van Deelen, 497 F.3d at 1155–56. The City Defendants argue that Mr. Loma failed to

plausibly allege that Defendant Berger struck Mr. Loma’s recording equipment out of his hand in

response to his recording activities, and “at best, the factual allegations establish that Sgt. Berger

made contact with Mr. Loma’s recording equipment in an attempt to get Mr. Loma to move back

when he got closer to Sgt. Berger to read the name badge of his lapel – not because Sgt. Berger

was attempting to stop Mr. Loma’s recording efforts. [Doc. 28 at 25-26].




15
  As noted supra, Counts Nine, Ten, and Eleven—each raised against Sergeant Berger—warrant
dismissal on other grounds.
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        To the extent that the City Defendants invite the Court to weigh the merits of Mr. Loma’s

claim, or challenge the credibility of his assertions, this Court respectfully declines to do so. See

Tal v. Hogan, 453 F.3d 1244, 1266 (10th Cir. 2006) (“Rule 12(b)(6) motions to dismiss are not

designed to weigh evidence or consider the truth or falsity of an adequately pled complaint.”).

Instead, this Court’s focus must be upon whether or not Mr. Loma has adequately pleaded facts,

taken as true, that state a cognizable violation of the First Amendment based on retaliation.

        It is well settled that “there is a First Amendment right to film the police performing their

duties in public.” Irizarry v. Yehia, 38 F.4th 1282, 1292 (10th Cir. 2022). The Court concludes

that Plaintiff has adequately alleged that Sergeant Berger’s actions caused him “to suffer an injury

that would chill a person of ordinary firmness from continuing to” film the officers’ actions in

clearing the unhoused individuals from a public space. Worrell v. Henry, 219 F.3d 1197, 1212

(10th Cir. 2000) (quotations omitted). Plaintiff points to the fact that Sergeant Berger approached

him and did not identify himself, and then proceeded to strike the phone from his hand. [Doc. 6

at ¶¶ 76–77]. His phone fell to the ground and shattered, rendering him unable to film the

remainder of the displacement. [Id. at ¶ 79]. As a result, Mr. Loma alleges that he suffered a loss

of income and property. [Id. at ¶ 80]. The Tenth Circuit’s “standard for evaluating th[e] chilling

effect on speech is objective, rather than subjective.” Shero v. City of Grove, 510 F.3d 1196, 1203

(10th Cir. 2007) (quotations omitted). Physical and verbal intimidation can both chill speech, see

Van Deelen, 497 F.3d at 1157–58, and Mr. Loma’s allegations—taken as true—suggest that

Sergeant Berger struck his arm or his phone, thereby preventing him from filming the police

activity at issue.

        With respect to the third element of a First Amendment retaliation claim—that is, the

requirement that Sergeant Berger’s actions were “substantially motivated as a response to the



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plaintiff’s exercise of constitutionally protected conduct.” The Court is mindful that it proceeds

at the motion to dismiss stage. Here, Mr. Loma has alleged that Sergeant Berger approached him,

refused to identify himself, and struck his phone and gimbal from his hand when Plaintiff

attempted to film his badge. [Doc. 6 at ¶¶ 76–77]. His phone shattered, and he was unable to film

the remainder of the displacement. [Id. at ¶ 79]. At this juncture, it is reasonable to infer that Mr.

Loma’s filming “substantially motivated” that action. The City Defendants’ Motion is DENIED

with respect to that claim.

       Count Six. In Count Six, Mr. Loma claims that Sergeant Berger deprived him of his

property in violation of the Fourteenth Amendment to the United States Constitution when he

allegedly struck his phone from his hand and shattered it. The Fourteenth Amendment to the

United States Constitution states that “[n]o State shall . . . deprive any person of life, liberty, or

property, without due process of law . . . .” U.S. Const. amend. XIV. Protected property interests

typically take the form of “actual ownership of real estate, chattels, or money.” Bd. of Regents v.

Roth, 408 U.S. 564, 571–72 (1972). As with any § 1983 claim, a claim for the violation of an

individual’s due process rights must “allege the violation of a right secured by the Constitution or

law of the United States, and must show that the alleged deprivation was committed by a person

acting under color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988). More particularly, a

Plaintiff must show that (1) “the petitioners acted under color of state law,” (2) the property in

question “falls within the definition of property,” and (3) “the alleged loss . . . amounted to a

deprivation.” Parratt v. Taylor, 451 U.S. 527, 536–537 (1981). The City Defendants concede

that Plaintiff has borne his burden with respect to the second of these elements; they do not,

however, agree that he has done so with respect to the first or third elements. See [Doc. 28 at 19].




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       First, the Court is unpersuaded that Mr. Loma’s allegations do not paint Sergeant Berger

as acting under color of state law. While the City Defendants claim that “[a]t the end of the day,

any person can strike at another person,” [Doc. 28 at 20], that does not mean that Sergeant Berger

was not acting under color of state law when he struck Plaintiff’s phone from his hand. Indeed,

while the City Defendants make much of the fact that “Sergeant Berger was [not] attempting to

question Mr. Loma, arrest him, remove him from the area, or was otherwise exerting any form of

authority over him,” [id.], the Court is unaware of any authority requiring that a police officer be

engaged in any of those specific activities to be held liable under § 1983 for the unconstitutional

deprivation of property. Furthermore, the Amended Complaint avers that Sergeant Berger was

acting in his capacity as a police officer; Plaintiff alleges that Sergeant Berger was on duty at the

clearing of an encampment of unhoused individuals, that he was instructing Plaintiff to back up as

he filmed the ongoing activities, that Plaintiff asked for his badge number in this process, that

Sergeant Berger called for backup, and that only then did Sergeant Berger knock the phone and

gimbal from Plaintiff’s hand. [Doc. 6 at ¶¶ 70–77].

       Regardless of their form, deprivations of property do not deny due process as long as there

is an adequate post-deprivation remedy. A due process claim will arise only if there is no such

procedure or it is inadequate. See Hudson v. Palmer, 468 U.S. 517, 533 (1984); see also Smith v.

Colo. Dept. of Corr., 23 F.3d 339, 340 (10th Cir. 1994) (“Fourteenth Amendment due process

guarantees pertaining to property are satisfied when an adequate, state postdeprivation remedy

exists for deprivations occasioned by state employees.”). But in this case, the Court is unpersuaded

at this juncture that such a remedy exists. 16 While the City Defendants argue that Colorado law




16
  While Plaintiff does not appear to directly address this argument in his Response [Doc. 38 at 17-
18], this Court is not satisfied that dismissal as a matter of law is appropriate here. Cf. Citizens
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provides an explicit remedy “for individuals who were filming police and had their recording

equipment unlawfully damaged,” [Doc. 28 at 21], the statute they cite provides for “a right of

recovery against a peace officer’s employing law enforcement agency,” Colo. Rev. Stat. § 13-21-

128(1)(a)(I) (emphasis added). Plaintiff does not raise his § 1983 claim for the deprivation of his

due process rights against Sergeant Berger’s employing law enforcement agency, but rather against

Sergeant Berger himself.

       In light of these shortcomings in the City Defendants’ Motion, the Court concludes that

Mr. Loma has adequately stated a claim against Sergeant Berger in Count Six of his Amended

Complaint and that qualified immunity does not shield him from liability on Mr. Loma’s

allegations. That portion of the City Defendants’ Motion is accordingly DENIED.

       Count Seven. Finally, Count Seven is raised against Sergeant Berger and alleges a

violation of the Fourth Amendment to the United States Constitution for “excessive force resulting

in permanent[ ] deprivation of personal property.” [Doc. 6 at 25 (cleaned up)]. The City

Defendants contend that Mr. Loma’s allegations with respect to Defendant Berger do not constitute

as “seizure” under the Fourth Amendment. [Doc. 28 at 21-22].

       “The Fourth Amendment protects individuals against ‘unreasonable searches and

seizures.’” Bella v. Chamberlain, 24 F.3d 1251, 1255 (10th Cir. 1994). “To state a claim of

excessive force under the Fourth Amendment, a plaintiff must show both that a ‘seizure’ occurred

and that the seizure was ‘unreasonable.’” Id. Excessive force claims under the Fourth Amendment

are analyzed for objective reasonableness. Graham v. Connor, 490 U.S. 386, 394 (1989).

Determining the objective reasonableness of a seizure “requires a careful balancing of the ‘nature




Concerned for Separation of Church & State v. City & Cnty. of Denver, 628 F.2d 1289, 1301 (10th
Cir. 1980).
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and quality of the intrusion on the individual’s Fourth Amendment interests’ against the

countervailing governmental interests at stake.” Id. (quoting Tennessee v. Garner, 471 U.S. 1, 8

(1985)). The Court must assess the officer’s conduct “from the perspective of a reasonable officer

on the scene,” recognizing the fact that the officer may be “forced to make split-second judgments”

in situations “that are tense, uncertain, and rapidly involving.” Id. at 396–97. Further, the Court

must pay “careful attention to the facts and circumstances of each particular case, including the

severity of the crime at issue, whether the suspect poses an immediate threat to the safety of the

officers or others, and whether he is actively resisting arrest or attempting to evade arrest by flight.”

Id. at 396.

        This Court’s central inquiry here turns on the definition of a “seizure” under the Fourth

Amendment. “[A] person is ‘seized’ only when, by means of physical force or a show of authority,

his freedom of movement is restrained.” United States v. Mendenhall, 446 U.S. 544, 553 (1980).

“If a reasonable person would feel free to terminate the encounter, then he or she has not been

seized.” United States v. Ojeda-Ramos, 455 F.3d 1178, 1183 (10th Cir. 2006) (quoting United

States v. Drayton, 536 U.S. 194, 201 (2002)). Relevant here, the United States Supreme Court has

recently clarified that there are “seizures by control and seizures by force.” Torres v. Madrid, 141

S. Ct. 989, 1001 (2021). With respect to seizures by force, the Court has held that “the application

of physical force to the body of a person with intent to restrain is a seizure even if the person does

not submit and is not subdued.” Id. at 1003. A seizure by force can be fleeting—it “lasts only as

long as the application of force,” absent submission. Id. at 999. Furthermore, while the amount

of force remains relevant in assessing the objective intent to restrain, “a mere touch can be enough

for a seizure.” Id. at 998. That said, “[a] seizure requires the use of force with intent to restrain.”

Id. (emphasis in original).



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       Guided by Torres and Graham, the Court concludes that Plaintiff has plausibly stated a

claim for relief against Sergeant Berger for excessive force under the Fourth Amendment. He

alleges that he was peacefully present at the clearing of an encampment of unhoused individuals,

that his only interaction with officers included filming them and requesting their badge numbers,

and that the result was that his phone was struck from his hand and shattered. These allegations

are sufficient to make out a claim for an unreasonable seizure. See Abay v. City of Denver, 445 F.

Supp. 3d 1286, 1291 (D. Colo. 2020) (finding that plaintiffs were likely to prevail on their Fourth

Amendment excessive force claim where “plaintiffs were attacked with rubber bullets, tear gas,

etc. allegedly solely on the basis of their presence at the demonstrations”). Stated differently,

Sergeant Berger’s alleged conduct “objectively manifested an intent” to restrain and incapacitate

Plaintiff while he was peacefully observing a public event at which the police were present.

Torres, 141 S. Ct. at 999. And, as noted above, the right to film police officers in the course of

their public duties was clearly established at the time of Plaintiff’s interaction with Sergeant

Berger. Irizarry, 38 F.4th at 1295. The Court is mindful that qualified immunity is an immunity

from suit, Ahmad, 435 F.3d at 1198, but is also cognizant of its duty to take Plaintiff’s allegations

as true at the motion to dismiss stage, Casanova, 595 F.3d at 1124. Accepting those allegations

here, the Court respectfully concludes that qualified immunity does not shield Sergeant Berger

from liability with respect to Count Seven of the Amended Complaint and DENIES that portion

of the City Defendants’ Motion.

                                         CONCLUSION

       For the foregoing reasons, it is ORDERED that:

               1. The City Defendants’ Motion to Dismiss is GRANTED IN PART with respect

                   to:



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                    a. Plaintiff’s First Claim for Relief as raised against Corporal Robert D.

                       Smith;

                    b. Plaintiff’s Second Claim for Relief;

                    c. Plaintiff’s Third Claim for Relief;

                    d. Plaintiff’s Fourth Claim for Relief as raised against the City and County

                       of Denver, City Attorney Kristin M. Bronson, Deputy City Attorney

                       Melissa M. Drazen Smith, Corporal Smith, and Detective Rocco-

                       McKeel;

                    e. Plaintiff’s Fifth Claim for Relief;

                    f. Plaintiff’s Eighth Claim for Relief;

                    g. Plaintiff’s Ninth Claim for Relief;

                    h. Plaintiff’s Tenth Claim for Relief;

                    i. Plaintiff’s Eleventh Claim for Relief;

                    j. Plaintiff’s Twelfth Claim for Relief; and

                    k. Plaintiff’s Thirteenth Claim for Relief.

           2. The City Defendants’ Motion to Dismiss is DENIED IN PART with respect

              to:

                    a. Plaintiff’s Fourth Claim for Relief as raised against Sergeant Berger;

                    b. Plaintiff’s Sixth Claim for Relief; and

                    c. Plaintiff’s Seventh Claim for Relief.




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DATED: March 20, 2023                    BY THE COURT:


                                         ________________________
                                         Nina Y. Wang
                                         United States District Judge




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